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 1 DAVID B. GOLUBCHIK (State Bar No. 185520)
     LINDSEY L. SMITH (State Bar No. 265401)
 2 LEVENE, NEALE, BENDER,
     YOO & GOLUBCHIK L.L.P.
 3 2818 La Cienega Avenue
 4 Los Angeles, California 90034
   Telephone: (310) 229-1234
 5 Facsimile: (310) 229-1244
   Email: DBG@LNBYG.COM; LLS@LNBYG.COM
 6
     Attorneys for Chapter 11
 7 Debtor in Possession
 8
                            UNITED STATES BANKRUPTCY COURT
 9
                                CENTRAL DISTRICT OF CALIFORNIA
10
                                     LOS ANGELES DIVISION
11
12
     In re:                                  ) Case No.: 2:22-bk-11910-BR
13                                           )
     TARINA TARANTINO MANAGEMENT,            ) Chapter 11 Case
14   LLC,                                    )
                                             ) DECLARATION OF SERVICE OF:
15                     Debtor in Possession. )       ORDER: (1) SETTING
16                                           )       DEADLINE FOR FILING
                                             )       CHAPTER 11 DISCLOSURE
17                                           )       STATEMENT AND PLAN OF
                                             )       REORGANIZATION; (2)
18                                           )       SETTING PRELIMINARY
                                             )       HEARING ON ADEQUACY OF
19                                           )       DISCLOSURE STATEMENT
20                                           )       AND PLAN OF
                                             )       REORGANIZATION; AND (3)
21                                           )       SETTING FORTH
                                             )       MANDATORY CONTENTS OF
22                                           )       CHAPTER 11 DISCLOSURE
                                             )       STATEMENT AND CHAPTER
23                                           )       11 PLAN OF
24                                           )       REORGANIZATION
                                             )
25                                           )
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 1          I declare that I am over the age of 18 and not a party to this action. I am an employee in

 2 the offices of a member of the State Bar of this Court at whose direction the service was made.
 3 My business address is 2818 La Cienega Avenue, Los Angeles, CA 90034.
 4
              I make this declaration regarding service of:
 5
            ORDER: (1) SETTING DEADLINE FOR FILING CHAPTER 11 DISCLOSURE
 6          STATEMENT AND PLAN OF REORGANIZATION; (2) SETTING
            PRELIMINARY HEARING ON ADEQUACY OF DISCLOSURE STATEMENT
 7
            AND PLAN OF REORGANIZATION; AND (3) SETTING FORTH
 8          MANDATORY CONTENTS OF CHAPTER 11 DISCLOSURE STATEMENT
            AND CHAPTER 11 PLAN OF REORGANIZATION
 9
            I have personal knowledge of the facts set forth below and, if called as a witness, I could
10
     and would competently testify thereto.
11
12          On April 6, 2022, I caused the above-referenced documents to be served on those

13    parties as indicated on the attached “Exhibit 1” via First Class Mail.
14          Executed this 6th day of April 2022 at Los Angeles, California.
15
            I declare under penalty of perjury under the laws of the United States of America that
16
      the foregoing is true and correct.
17
                                                          /s/ Damon Woo ____________
18                                                        Damon Woo
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27                                       Exhibit “1”

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                 Case 2:22-bk-11910-BR               Doc 8      Filed 04/06/22           Entered 04/06/22 13:07:57            Desc
Label Matrix for local noticing                      Tarina
                                                      MainTarantino
                                                              DocumentManagement,Page
                                                                                  LLC 4 of 6              Los Angeles Division
0973-2                                               910 S. Broadway, 7th Floor                           255 East Temple Street,
Case 2:22-bk-11910-BR                                Los Angeles, CA 90015-1610                           Los Angeles, CA 90012-3332
Central District of California
Los Angeles
Wed Apr 6 11:45:41 PDT 2022
Alfonso Campos                                       Allen Matkins Leck Gamble Mallory &                  Argentic Services Company LP
3185 Deronda Dr.                                     Natsis LLP                                           c/o Michael Lubic, K&L Gates
Los Angeles, CA 90068-1607                           1900 Main St, 5th Floor                              10100 Santa Monica Bl., 8th Flr
                                                     Irvine, CA 92614-7321                                Los Angeles, CA 90067-4003


CBRE                                                 Carlsbad Certified Public Accountan                  Continental Elevator Services, Inc.
P.O. Box 740935 Location Code 2187                   5741 Palmer Way, Suite A                             4209 Verdant St.
Los Angeles, CA 90074-0935                           Carlsbad, CA 92010-7248                              Los Angeles, CA 90039-1325



Franchise Tax Board                                  (p)INTERNAL REVENUE SERVICE                          LADWP
Special Procedures                                   CENTRALIZED INSOLVENCY OPERATIONS                    P.O. Box 515407
POB 2952                                             PO BOX 7346                                          Los Angeles, CA 90051-6707
Sacramento, CA 95812-2952                            PHILADELPHIA PA 19101-7346


Law Offices of Sheldon J. Fleming                    (p)LOS ANGELES COUNTY TREASURER AND TAX COLLE        Sheppard Mullin Richter & Hampton L
2030 Main St., Suite 1300                            ATTN BANKRUPTCY UNIT                                 333 South Hope Street,43rd
Irvine, CA 92614-7220                                PO BOX 54110                                         Los Angeles, CA 90071-1406
                                                     LOS ANGELES CA 90054-0110


Smith Mandel & Associates, LLP                       Spectrum                                             Tarina Tarantino-Campos
333 N.Glendoaks Blvd., Suite 201                     PO Box 60074                                         3185 Deronda Dr.
Burbank, CA 91502-1192                               City of Industry, CA 91716-0074                      Los Angeles, CA 90068-1607



U.S. SBA                                             United States Trustee (LA)                           Wells Fargo Bank, NA, as Trustee
Office of Disaster Assistance                        915 Wilshire Blvd, Suite 1850                        c/o Michael B. Lubic, K&L Gates
14925 Kingsport Rd                                   Los Angeles, CA 90017-3560                           10100 Santa Monica Bl, 8th Flr
Fort Worth, TX 76155-2243                                                                                 Los Angeles, CA 90067-4003


David B Golubchik
Levene, Neale, Bender, Yoo & Golubchik L
2818 La Cienega Avenue
Los Angeles, CA 90034-2645




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Internal Revenue Service                             Los Angeles County Tax Collector
Insolvency I Stop 5022                               P.O. Box 54018
300 N. Los Angeles St., #4062                        Los Angeles, CA 90054-0018
Los Angeles, CA 90012-9903
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                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       (u)WR Heating and Cooling Inc.                       End of Label Matrix
                                                      PO Box 670                                           Mailable recipients    21
                                                      CA 92890                                             Bypassed recipients     2
                                                                                                           Total                  23
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 1                             PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 2818 La Cienega Avenue, Los Angeles, CA 90034
 3
     A true and correct copy of the foregoing document entitled DECLARATION OF SERVICE OF: ORDER:
 4   (1) SETTING DEADLINE FOR FILING CHAPTER 11 DISCLOSURE STATEMENT AND PLAN OF
     REORGANIZATION; (2) SETTING PRELIMINARY HEARING ON ADEQUACY OF DISCLOSURE
 5   STATEMENT AND PLAN OF REORGANIZATION; AND (3) SETTING FORTH MANDATORY
     CONTENTS OF CHAPTER 11 DISCLOSURE STATEMENT AND CHAPTER 11 PLAN OF
 6   REORGANIZATION will be served or was served (a) on the judge in chambers in the form and manner
     required by LBR 5005-2(d); and (b) in the manner stated below:
 7
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 8   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
     hyperlink to the document. On April 6, 2022, I checked the CM/ECF docket for this bankruptcy case or
 9   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
     receive NEF transmission at the email addresses stated below:
10

11          David B Golubchik dbg@lnbyg.com, stephanie@lnbyb.com
            Ron Maroko ron.maroko@usdoj.gov
12          Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
            United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
13

14
     2. SERVED BY UNITED STATES MAIL:
15   On April 6, 2022 I served the following persons and/or entities at the last known addresses in this
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
16   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
     constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
17   document is filed.

18   None.
                                                                 Service information continued on attached page
19

20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on April
21   6, 2022 I served the following persons and/or entities by personal delivery, overnight mail service, or (for
     those who consented in writing to such service method), by facsimile transmission and/or email as
22   follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
     judge will be completed no later than 24 hours after the document is filed.
23

24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
     correct.
25
      April 6, 2022              Damon Woo                                 /s/ Damon Woo
26    Date                       Printed Name                              Signature

27

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                                                           1
